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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


                                                                Action No: 3:17CV00072
   Elizabeth Sines, et al                                       Date: 3/1/2019
   vs.                                                          Judge: Joel C. Hoppe, USMJ
                                                                Court Reporter: H. Wheeler/FTR
   Jason Kessler, et al
                                                                Deputy Clerk: Heidi N. Wheeler



   Plaintiff Attorney(s)                             Defendant Attorney(s)
   Michael Bloch                                     James Kolenich
   Gabrielle Tenzer                                  Jeff Schoep
   Alan Levine                                       James Stern
   Yotam Barkai




                                       LIST OF WITNESSES

   PLAINTIFF/GOVERNMENT:                             DEFENDANT:
   1.




  PROCEEDINGS:
  TELEPHONIC MOTION and DISCOVERY HEARING [418] AND [420] 10:00= 29 MIN

  Parties appearing by telephone conference to address Motions [418] and [420].

  Deadlines for obtaining counsel addressed.

  Discovery issues discussed.

  Status conference/call to be set sometime after March 12, 2019.

  After the Status Conference parties to get new trial dates.

  Order will issue.
